Case 20-01059-JDW          Doc 21    Filed 01/26/21 Entered 01/26/21 14:59:54       Desc Main
                                    Document      Page 1 of 2

____________________________________________________________________________
                                                 SO ORDERED,




                                                 Judge Jason D. Woodard
                                                 United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
____________________________________________________________________________




                           UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF MISSISSIPPI

In re:                                      )
                                            )
         MARGARET B. HALL,                  )              Case No.:        20-12866-JDW
                                            )
              Debtor.                       )              Chapter 7


         COMMUNITY BANK OF                  )
         MISSISSIPPI ,                      )
                                            )
              Plaintiff.                    )
                                            )
v.                                          )              A.P. No.:        20-01059-JDW
                                            )
         LOANCARE, LLC;                     )
         MARGARET B. HALL; and,             )
         WILLIAM L. FAVA,                   )
                                            )
              Defendants.                   )

         ORDER HOLDING MOTION FOR ENTRY OF DEFAULT JUDGMENT IN
                         ABEYANCE (A.P. Dkt. # 17)

       This matter came before the Court on the Motion for Entry of Default Judgment (the
“Motion”) (A.P. Dkt. # 17) filed by Jeff D. Rawlings, counsel for Community Bank of Mississippi
(the “Plaintiff”) against Defendants LoanCare, LLC, Margaret B. Hall, and William L. Fava on
January 19, 2021. The Plaintiff’s Complaint was filed against the Defaulted Defendants and
Case 20-01059-JDW        Doc 21     Filed 01/26/21 Entered 01/26/21 14:59:54            Desc Main
                                   Document      Page 2 of 2



against LoanCare, LLC (the “Responding Defendant”), seeking a judgment to declare the
Plaintiff’s lien superior to the Responding Defendant’s (A.P. Dkt. # 1). The Responding
Defendant has filed an answer to the Complaint (A.P. Dkt. # 9), but a Clerk’s Default has been
entered against the Defaulted Defendants for their failure to answer or otherwise defend in this
case (A.P. Dkt. # 15).

        In the Motion, the Plaintiff requests a default judgment against the Defaulted Defendants.
Entitlement to that relief against the Defaulted Defendants is necessarily intertwined with whether
the Plaintiff prevails on its claims against the Responding Defendant. It would be inappropriate
and prejudicial to the Responding Defendant to enter the default judgment against the Defaulted
Defendants before the resolution of the Plaintiff’s claims against the Responding Defendant. See
Buckley v. Epps, 2012 WL 777327 at *2 (N.D. Miss. 2012) (applying Frow v. De La Varga, 82
U.S. 552 (1872)). Notwithstanding the delay in entry of the default judgment, the Defaulted
Defendants are no longer entitled to service of notices and may not appear in this case in any way.
Frow, 82 U.S. at 554. Accordingly, it is hereby

        ORDERED, ADJUDGED, and DECREED that the Plaintiff’s Motion (A.P. Dkt. # 17)
shall be HELD IN ABEYANCE pending the final resolution of the Plaintiff’s action against the
Responding Defendant herein.

                                     ##END OF ORDER##
